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mfg BY ______ D.C.

IN THE UNITED STATES DISTR_ICT COURT 05 AUG _2 PH \2: 09
FOR THE WESTERN DISTRICT OF TENNESSEE

M. G¢OU.D
WESTERN DIVISION w%~§§$lhi§$rgpzpowgm

 

UNITED STA'I`ES OF AMERICA,

 

Respondent, Case No.: 97-20140 D
v.
CHARLES ROY DEGAN,
Petitioner.
OR.DER

 

On the docket sheet is Petitioner’s Motion for Appointment of Counsel. .. (Docket No. 176).
Upon review of the motion and the entire case record, the court finds that cause does not exist for

relief. Accordingly, the motion is DENIED.

IT IS SO ORDERED this g 345 day of§Z;M 5¢‘,£ , 2005.

 
   

TED STATES DISTRICT JUDGE

   

Fh`\s document entered on the docket sh
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Timothy R. DiScenZa

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Honorable Bernice Donald
US DISTRICT COURT

